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         ORDERED in the Southern District of Florida on February 1, 2016.




                                                                  Erik P. Kimball, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________


                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                       WEST PALM BEACH DIVISION


        IN RE:                                                 Case No.13-16943-EPK

        PAMELA ELIZABETH SMITH,                                Chapter 11



                    Debtor.
        ______________________________________/

         ORDER LIFTING THE AUTOMATIC STAY IN FAVOR OF PENNYMAC HOLDINGS,
             LLC BY PENNYMAC LOAN SERVICES, LLC, ITS SERVICING AGENT
                       (Re: 124 Harding Ave, Cocoa Beach, Florida 32931)

                 THIS CASE came before the Court on the Motion for Relief from the Automatic Stay
        [D.E. #217] filed pursuant to Local Rule 4001-1(C) by PennyMac Holdings, LLC, by PennyMac
        Loan Services, LLC, its Servicing Agent (“Secured Creditor”), and there being no objections to the
        entry of this Order within the 14-day negative notice period set forth therein, and the Court being
        otherwise more fully advised in the premises, it is:
                 ORDERED:
                 1.    Secured Creditor’s Motion for Relief from the Automatic Stay is granted.
                 2.    The automatic stay imposed by 11 U.S.C. §362 is terminated with respect to real
        property located at 124 Harding Ave, Cocoa Beach, Florida 32931, legally described as:
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              LOT 13 & THE EAST 1/2 OF LOT 12, BLOCK 99, AON BY
              THE SEA, ACCORDING TO THE PLAT THEREOF ON
              FILE IN THE OFFICE OF THE CLERK OF THE CIRCUIT
              COURT IN AND FOR PUBLIC RECORDS OF BREVARD
              COUNTY, FLORIDA, AS RECORDED IN PLAT BOOK 3,
              PAGE 7.

       3.     This Order Lifting the Automatic Stay is entered for the sole purpose of allowing
Secured Creditor to pursue its lawful in rem remedies as to the subject property and Secured
Creditor shall neither seek nor obtain an in personam judgment against Debtor.
       4.     All communications sent by Secured Creditor in connection with proceeding
against the property including, but not limited to, notices required by state law and
communications to offer and provide information with regard to a potential Forbearance
Agreement, Loan Modification, Refinance Agreement, Loss Mitigation Agreement or other Loan
Workout, may be sent directly to Debtor.
                                              ###

Order submitted by:
Wanda D. Murray
Aldridge | Pite LLP (formerly known as
Aldridge Connors, LLP)
Attorney for Secured Creditor
Fifteen Piedmont Center
3575 Piedmont Road, N.E.
Suite 500
Atlanta, GA 30305

Wanda D. Murray is directed to serve copies of this order on the parties listed and file a
certificate of service.

DEBTOR ATTORNEY
(via electronic notice)

Brad Culverhouse
bradculverhouselaw@gmail.com


Brett A Elam, Esq.
belam@brettelamlaw.com
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DEBTOR

Pamela Elizabeth Smith
3235 SE River Vista Drive
Port Saint Lucie, FL 34952

UNITED STATES TRUSTEE
(via electronic notice)

Department of Justice
51 S.W. 1st Ave., Suite 1204
Miami, FL 33130

UNSECURED CREDITOR LIST

30 Second Smile
PO Box 9169
Van Nuys, CA 91409

A Plus Pool Maintenance and Repairs
1002 Charlotta St
Attn Gary Cole
Fort Pierce, FL 34982

AT&T Mobility
PO Box 6463
Carole Stream, IL 60197-6463

Bank of America
POB ox 982235
El Paso, TX 79998-2235

Chase
PO Box 24696
Columbus, OH 43224-0696

Citi Cards/Citi Bank
PO Box 6241
Sioux Falls, SD 57117

Crystal Clear Pool Service
858 SE Quiescent Lane
Port Saint Lucie, FL 34983

Discover Financial Svcs LLC
PO Box 15316
Wilmington, DC 19850
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